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12
                                    UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN JOSE DIVISION
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17   APPLE INC., a California corporation,              Case No. 11-cv-01846-LHK
18                     Plaintiff,                       APPLE’S ADMINISTRATIVE
                                                        MOTION TO FILE DOCUMENTS
19          v.                                          UNDER SEAL RE APPLE’S
                                                        OPPOSITION TO SAMSUNG’S
20   SAMSUNG ELECTRONICS CO., LTD., a                   MOTION FOR SUMMARY
     Korean corporation; SAMSUNG                        JUDGMENT
21   ELECTRONICS AMERICA, INC., a New
     York corporation; and SAMSUNG
22   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company,
23
                       Defendants.
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     APPLE’S ADMIN. MOTION TO FILE UNDER SEAL RE OPP. TO SAMSUNG’S MOT. FOR SUMMARY JUDGMENT
     CASE NO. 11-CV-01846-LHK
     sf-3150843
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 1           In accordance with Civil Local Rules 7-11 and 79-5, and General Order No. 62, Apple Inc.
 2   (“Apple”) submits this motion for an order to seal the following documents or portions thereof:
 3           1.     The confidential, unredacted version of the Declaration of Ravin Balakrishnan,
 4   Ph.D. in Support of Apple’s Opposition to Samsung’s Motion for Summary Judgment;
 5           2.     The confidential, unredacted version of the Declaration of Dr. Karan Singh, Ph.D.
 6   in Support of Apple’s Opposition to Samsung’s Motion for Summary Judgment (“Singh
 7   Declaration”) and Exhibits 1, 2, and 8 thereto; and
 8           3.     The Declaration of Terry L. Musika in Support of Apple’s Opposition to
 9   Samsung’s Motion for Summary Judgment (“Musika Declaration”) and Exhibits A through L
10   thereto.
11           Exhibit 1 to the Singh Declaration and Exhibits A-E, H, and I to the Musika Declaration
12   contain information that is highly confidential as set out in the Declaration of Cyndi Wheeler in
13   Support of Apple’s Administrative Motion to File Documents Under Seal (“Wheeler
14   Declaration”) (Dkt. No. 998). It is Apple’s policy not to disclose or describe to third parties its
15   confidential financial, design, trade secrets, or product development information. (Wheeler
16   Declaration ¶ 11.) The Apple-confidential material in these exhibits relate to such confidential
17   information, as detailed in the Wheeler Declaration. (Id. ¶ 1-10.) This information is highly
18   confidential to Apple and could be used by Apple’s competitors to Apple’s disadvantage if
19   disclosed publicly. (Id. ) The relief requested in this motion is necessary and is narrowly tailored
20   to protect confidential information, focusing only on specific portions of the documents at issue.
21   (Id. ¶ 14.)
22           Exhibits 1, 2, and 8 to the Singh Declaration and Exhibits B, C, F-H and J-L to the Musika
23   Declaration contain materials that Samsung has designated as confidential under the protective
24   order entered in this case. Apple expects that, pursuant to Civil Local Rule 79-5(d), Samsung will
25   file a declaration seeking to establish good cause to permit the sealing of these materials. In
26   addition, the Musika Declaration and Exhibits A-L thereto contain highly confidential damages-
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     APPLE’S ADMIN. MOTION TO FILE UNDER SEAL RE OPP. TO SAMSUNG’S MOT. FOR SUMMARY JUDGMENT
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 1   related expert materials, which the parties have stipulated should be submitted to the Court under
 2   seal and not placed on the public record. (Wheeler Decl. ¶ 12.)
 3          Finally, to the extent the above-referenced Declarations refer to or discuss the above-
 4   referenced confidential materials, or the confidential materials identified in the Wheeler
 5   Declaration, they could be used to Apple’s disadvantage by competitors if they were not filed
 6   under seal, for the same reasons. (Id. ¶ 13.)
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 8          Pursuant to Civil Local Rule 79-(c), Apple will lodge with the Clerk the documents at
 9   issue with the sealable portions highlighted.
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     Dated: May 31, 2012                             MORRISON & FOERSTER LLP
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                                                     By:   /s/ Michael A. Jacobs
13                                                         MICHAEL A. JACOBS
14                                                         Attorneys for Plaintiff
                                                           APPLE INC.
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     APPLE’S ADMIN. MOTION TO FILE UNDER SEAL RE OPP. TO SAMSUNG’S MOT. FOR SUMMARY JUDGMENT
     CASE NO. 11-CV-01846-LHK                                                                         2
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